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                                                     UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:10-CR-575 JCM (VCF)
                  8       UNITED STATES OF AMERICA,

                  9                       Plaintiff(s),
                10        v.
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                          RUBEN PEREZ-CRUZ,
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                                          Defendant(s).
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                14                                                    ORDER
                15             Presently before the court is the government’s motion to extend time (first request) to
                16      respond to petitioner’s § 2255 petition (doc. # 156), and the government’s motion to waive attorney-
                17      client privilege (doc. # 157).
                18             Petitioner filed his motion to vacate under 28 U.S.C. § 2255 on September 12, 2012. (Doc.
                19      # 153). In a minute order, this court ordered the government to respond by October 16, 2012. (Doc.
                20      # 154). The government timely filed this motion to extend time to respond to the § 2255 petition
                21      until November 16, 2012. (Doc. # 156).
                22             Local rule 6-1 permits an extension of time for good cause. The government cites the need
                23      to obtain from Michael L. Becker, Esq., a sworn affidavit. (See id.). Mr. Becker represented
                24      petitioner in the criminal case, and petitioner has made ineffective assistance of counsel allegations
                25      regarding the representation provided by Mr. Becker. (See id.). The court finds good cause.
                26             The government also seeks a waiver of the attorney-client privilege between petitioner and
                27      Mr. Becker. It is well established that a habeas petitioner severs the attorney-client privilege when
                28
James C. Mahan
U.S. District Judge
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                  1     the petitioner files a § 2255 petition asserting ineffective assistance of counsel. Bittaker v.
                  2     Woodford, 331 F.3d 715, 716-17 (9th Cir. 2003) (“It has long been the rule in the federal courts that,
                  3     where a habeas petitioner raises a claim of ineffective assistance of counsel, he waives the attorney-
                  4     client privilege as to all communications with his allegedly ineffective lawyer.”). The court waives
                  5     the attorney-client privilege between petitioner and Mr. Becker.
                  6            Accordingly,
                  7            IT IS HEREBY ORDERED ADJUDGED AND DECREED that the government’s motion
                  8     to extend time (first request) (doc. # 156) be, and the same hereby is, GRANTED.
                  9            IT IS FURTHER ORDERED ADJUDGED AND DECREED that the government’s motion
                10      to waive attorney-client privilege (doc. # 157) be, and the same hereby is, GRANTED.
                11             DATED October 11, 2012.
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                                                               UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                     -2-
